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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE


UNITED STATES OF AMERICA                       )
                                               )
       v.                                      )         Case No. 1:22-mc-00022-JCN
                                               )
XAVIER PELKEY                                  )
                                               )

                                   MOTION FOR DETENTION

       The United States moves for pretrial detention of the defendant, pursuant to 18 U.S.C.

§ 3142.

       1.       Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

                Conditions requiring a temporary detention order (18 U.S.C. § 3142(d))

                Crime of violence (18 U.S.C. § 3156)

                Maximum sentence life imprisonment or death

                10+ year drug offense

                Felony, with two prior convictions in above categories

            x   Felony that involves a minor victim or possession/use of firearm, destructive
                device or other dangerous weapon

                Felony that involves a failure to register under 18 U.S.C. § 2250

                Serious risk defendant will flee

                Serious risk of obstruction of justice

       2.       Reasons for Detention.

                (i)    Temporary Detention.
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                 (ii)    Other Than Temporary Detention. The Court should detain the defendant

because no conditions of release will reasonably assure (check one or both):

                   x    Defendant’s appearance as required

                   x    Safety of any other person and the community

       3.        Rebuttable Presumption. The rebuttable presumption under 18 U.S.C.

§ 3142(e)(3)(E) does not apply in this case.

       4.        Date of Detention Hearing. The United States requests the Court to conduct the

detention hearing:

                At first appearance

            x   After continuance of 3 days (not more than 3).

       5.        Length of Detention Hearing. The United States estimates that it will require 1

hour to present its case for detention.

       6.        Other Matters.



Dated in Portland, Maine this 11th day of February, 2022.


                                                       /s/ Craig M. Wolff
                                                      Craig M. Wolff
                                                      Assistant United States Attorney
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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

                                CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2022, I electronically filed this Motion for Detention

with the Clerk of Court using the CM/ECF system.



                                                     DARCIE N. MCELWEE
                                                     UNITED STATES ATTORNEY


                                                       /s/ Craig M. Wolff
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